                        IN THE UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF OKLAHOMA

(1) MARY COLBERT and                )
(2) LARRY COLBERT                   )
                                    )
            Plaintiffs,             )
                                    )
VS.                                 )
                                    )                 Case No. 12-CV-466-JHP
(1) UNITED STATES OF AMERICA ex rel )
CHICKASAW NATION MEDICAL            )
CENTER                              )
                                    )
            Defendants.             )

                                          COMPLAINT

        Plaintiffs, complaining of Defendant, allege and state:


                                  JURISDICTION AND VENUE

       1.      The Plaintiffs in this action are Mary Colbert and her husband Larry Colbert.

       2.      Plaintiffs are citizens and residents of the State of Oklahoma.

       3.      The United States of America is a defendant, in its capacity as the responsible

entity, pursuant to 25 U.S.C. §450f, et. seq. and 28 U.S.C. §2671, et. seq., (FTCA) for the actions

of the Chickasaw Nation Medical Center (CNMC), located in Ada, Oklahoma, and for the agents

and employees of CNMC.

       4.      This Court has jurisdiction of the matter pursuant to 28 U.S.C. §2671, et. seq., and

pursuant to supplemental jurisdiction conferred upon this Court pursuant to 28 U.S.C. §1367(a).

       5.      The events about which Plaintiffs complain took place at CNMC in Ada, Pontotoc

County, Oklahoma, in the Eastern District of the United States District Court, sitting in

Oklahoma.

       6.      Plaintiffs have, heretofore, pursuant to the FTCA, filed claims with the United
States, and the six month time to respond to said claims expired, without the United States taking

any action on said claims.

                                               FACTS

       7.      On September 7, 2010, Mary Colbert was admitted to CNMC for a total

abdominal hysterectomy with removal of her fallopian tubes and ovaries.

       8.      Agents or employees of CNMC performed the surgery, during which they placed

a stitch in Mary Colbert’s left ureter, resulting in a severed ureter and complications with her left

kidney and her left ureter.

       9.      The agents or employees of CNMC performing the surgery failed to recognize

during the surgery that they had placed a stitch in Mary Colbert’s ureter.

       10.     The agents or employees of CNMC performing the surgery failed to run routine

intra-operative tests to verify the integrity of Mary Colbert’s left and right ureters prior to

completing the surgery.

       11.     Mary Colbert presented to the hospital one week after her surgery, complaining of

pain in her left flank and was referred to a urologist, Dr. Glen Diacon.

       12.     Dr. Diacon examined Mary Colbert and determined that her left ureter was

obstructed. Dr. Diacon performed a surgery to determine the cause of obstruction of Mary

Colbert’s left ureter and discovered that a stitch had been placed in the left ureter, ultimately

severing the ureter.

       13.     Dr. Diacon reconnected the ends of the ureter over a stent.

       14.     Even though Dr. Diacon was able to reconnect the severed ureter, Mary Colbert

has undergone at least six (6) follow-up surgeries due to complications from the injury that she

suffered, during the September 7, 2010 surgery, and will have to be monitored for the rest of her




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life and possibly undergo further surgeries.

        15.      Larry Colbert has suffered injuries in the nature of loss of consortium as a result

of the injuries to his wife.

                                      CLAIMS FOR RELIEF

                                        First Claim for Relief

        16.      Agents or employees of CNMC who performed the surgery, owed to Mary

Colbert the duty to exercise that degree of skill, diligence and foresight exercised by and

expected of physicians.

        17.      The medical care and treatment provided to Mary Colbert by agents or employees

of CNMC departed from accepted standards of medical care so as to constitute medical

negligence.

        18.      The departures from accepted standards of medical care caused Plaintiff Mary

Colbert to suffer injuries and damages.

        19.      Agents or employees of Chickasaw Nation Medical Center were responsible for

Mary Colbert’s medical care at all times relevant to the matters before this Court.



                                        Second Claim for Relief

       20.    All of the previous allegations are incorporated herein by reference in this Second

Claim for Relief.

       21. The departures from accepted standards of medical care caused Plaintiff Larry Colbert

to suffer injuries and damages secondary to those suffered by Mary Colbert, in the nature of loss

of consortium.




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                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs ask for damages in an amount in excess of $75,000.00 on

behalf of Mary Colbert and in excess of $75,000.00 on behalf of Larry Colbert and each Plaintiff

asks for costs of this action, and for such further relief, at law or in equity, to which Plaintiffs

may be justly entitled.

                                                Respectfully submitted,


                                                s/ William W. Speed
                                                William W. Speed, OBA #19031

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ATTORNEY’S LIEN CLAIMED




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